  Case 20-16125       Doc 31    Filed 03/10/22 Entered 03/10/22 10:08:49            Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In Re:                                              }
                                                    }       Case No. 20-16125
   Rita R. Katz                                     }
                                                    }       Chapter 13
                                                    }
Debtor(s)                                           }       Judge Jacqueline P. Cox



                                    NOTICE OF MOTION

TO:

Thomas H. Hooper, Chapter 13 Trustee, 55 E. Monroe Street, Suite 3850, Chicago, IL 60603,
via electronic court notification;

Heather M. Giannino, Attorney for JPMorgan Chase Bank, Heavner, Beyers & Mihlar, LLC,
P.O. Box 740, Decatur, IL 62525, via U.S. Mail;

Chase Mortgage, PO Box 182618, Columbus, OH 43218, via U.S. Mail;

Bristol Court Condo Association, 2300 Windsor Mall, Park Ridge, IL L60068, U.S. Mail;

Cook County Treasurer, 118 N. Clark St., Suite 112, Chicago, IL 60602, via U.S. Mail;

Rita R. Katz, 201 Thames Parkway, Unit 3J, Park Ridge, IL 60068; via U.S. mail;

SEE ATTACHED ADDRESSES

       PLEASE TAKE NOTICE that on April 4th, 2022, at 9:00 a.m., I will appear before the
Honorable Jacqueline P. Cox, or any judge sitting in that judge’s place, and present the motion of
Debtor to Modify Plan, a copy of which is attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the
motion, you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and passcode.
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        Meeting ID and password. The meeting ID for this hearing is 161 273 2896 and the
password is 778135. The meeting ID and password can also be found on the judge’s page on the
court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.



                                    PROOF OF SERVICE

        I, the undersigned, certify that I caused this Notice and a copy of the attached
document(s) to be served upon the entities named above by depositing the same in the U.S.
Postal Service’s mail box at 8707 Skokie Blvd Suite 305, Skokie, IL 60077 on March 10, 2022,
except that the Trustee and any other party indicated in the Notice of Filing were served
electronically by the court on such date.



/s/ David Freydin__________________
David Freydin, Esq
Law Offices of David Freydin
8707 Skokie Blvd, Suite 305
Skokie, IL 60077
Phone: 847.972.6157
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Label Matrix for local noticing                      U.S. Document
                                                          Bankruptcy Court Page 3 of 5                    Amex
0752-1                                               Eastern Division                                     Correspondence/Bankruptcy
Case 20-16125                                        219 S Dearborn                                       Po Box 981540
Northern District of Illinois                        7th Floor                                            El Paso, TX 79998-1540
Eastern Division                                     Chicago, IL 60604-1702
Tue Aug 25 12:15:14 CDT 2020
Bristol Court Condo Assoc.                           Capital One                                          (p)JPMORGAN CHASE BANK N A
2300 Windsor Mall                                    Attn: Bankruptcy                                     BANKRUPTCY MAIL INTAKE TEAM
Park Ridge, IL 60068-3699                            Po Box 30285                                         700 KANSAS LANE FLOOR 01
                                                     Salt Lake City, UT 84130-0285                        MONROE LA 71203-4774


Chase Mortgage                                       Citi Cards                                           Citibank
Mail code OH-7399                                    PO BOX 9001016                                       Citicorp Credit Srvs/Centralized Bk dept
PO BOX 182618                                        Louisville, KY 40290-1016                            Po Box 790034
Columbus, OH 43218-2618                                                                                   St Louis, MO 63179-0034


Citibank/Shell Oil                                   Cook County Treasurer                                Internal Revenue Service
Citicorp Credit Srvs/Centralized Bk dept             118 N. Clark St.                                     PO BOX 7346
Po Box 790034                                        Suite 112                                            Philadelphia, PA 19101-7346
St Louis, MO 63179-0034                              Chicago, IL 60602-1590


Rush University Medical Center                       Target                                               David Freydin
1620 W. Harrison                                     c/o Financial & Retail Srvs                          Law Offices of David Freydin Ltd
Chicago, IL 60612-3801                               Mailstop BT POB 9475                                 8707 Skokie Blvd
                                                     Minneapolis, MN 55440-9475                           Suite 312
                                                                                                          Skokie, IL 60077-2269

Patrick S Layng                                      Rita R Katz                                          Tom Vaughn
Office of the U.S. Trustee, Region 11                201 Thames Parkway, Unit 3J                          55 E. Monroe Street, Suite 3850
219 S Dearborn St                                    Park Ridge, IL 60068-3653                            Chicago, IL 60603-5764
Room 873
Chicago, IL 60604-2027



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Card Services                                  End of Label Matrix
Attn: Bankruptcy                                     Mailable recipients      17
Po Box 15298                                         Bypassed recipients       0
Wilmington, DE 19850                                 Total                    17
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In the Matter of:                                    }
                                                     }       Case No. 20-16125
   Rita R. Katz                                      }
                                                     }       Chapter 13
                                                     }
Debtor(s)                                            }       Judge Jacqueline P. Cox


                          DEBTOR’S MOTION TO MODIFY PLAN


       NOW COMES THE DEBTOR by and through her attorney, David Freydin, and requests

that this Honorable Court modify the Chapter 13 Plan under Section 1329 for the reasons below,

and in support thereof, states as follows:

1. That the Debtor filed a Chapter 13 bankruptcy petition in the Northern District of Illinois,

   Eastern Division as case number 20-16125 on August 25, 2020.

2. That this Honorable Court confirmed the Debtor’s Chapter 13 Plan on October 19, 2020,

   with secured creditors to be paid 100.00% and general unsecured creditors to be paid

   10.00%.

3. That the Debtor has not converted the instant Chapter 13 case to a Chapter 7 case.

4. That the Debtor’s confirmed plan requires her to pay $535.00 per month for 60 months.

5. That the Debtor had a series of medical issues that rendered her unable to work between May

   2021 and November 2021. These issues caused Debtor’s income to decrease significantly.

6. That as a result of the loss of income, Debtor fell behind on her Chapter 13 Plan payments

   and has been unable to cure the default.

7. That Debtor has returned to work and is able to resume making regular Trustee payments.
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8. That the Debtor asks this Honorable Court to defer the current default so that she may

   successfully complete this Chapter 13.

9. That by deferring the current default, the creditors that have filed claims in this case will

   receive more than they would if the case were dismissed, or if the Debtor was forced to

   convert case to one arising under Chapter 7 of the Bankruptcy Code.

10. That the Debtor filed the instant case in good faith and intends to complete the Plan of

   Reorganization.



   WHEREFORE THE MOVANT PRAYS that this Honorable Court enter an order modifying

the Chapter 13 plan to:

       A. That the confirmed plan is modified to provide that the default accruing through

           March 2022 is hereby deferred;

       B. That the remaining payments under the plan shall be $600.00 per month commencing

           April 2022 for 40 months.

       C. That trustee shall not be required to perform collections on behalf of creditors

           pursuant to any prior confirmed plan; and

       D. For such other and further relief this Court deems just and proper.



/s/ David Freydin__________________
David Freydin
Law Offices of David Freydin, PC
8707 Skokie Blvd., Suite 312
Skokie, IL 60077
Phone: 847.972.6157
